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6                              IN THE UNITED STATES DISTRICT COURT
7                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8    UNITED STATES OF AMERICA,                     )     Case №: 1:20-MJ-00037-2-EPG
                                                   )
9                     Plaintiff,                   )                    ORDER
                                                   )               APPOINTING COUNSEL
10            vs.                                  )
                                                   )
11   DENNISE CASTRO-LOPEZ,                         )
                                                   )
12                    Defendant.                   )
                                                   )
13
              The above named Defendant has, under oath, sworn or affirmed as to her financial
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15   inability to employ counsel or has otherwise satisfied this Court that she is financially unable to

16   obtain counsel and wishes counsel be appointed to represent her. Therefore, in the interests of

17   justice and pursuant to the U.S. CONST., amend VI and 18 U.S.C. § 3006A,
18
              IT IS HEREBY ORDERED that Kevin P. Rooney be appointed to represent the above
19
     defendant in this case effective nunc pro tunc to February 28, 2020.
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              This appointment shall remain in effect until further order of this court.
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22
23   IT IS SO ORDERED.

24   Dated:     March 2, 2020
                                                         UNITED STATES MAGISTRATE JUDGE
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